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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

  Case No. -                                -CV-




  John B. Culverhouse, Sr.,                        Jury Trial: “Yes”

               Plaintiff

  -v-

  The City of Fort Pierce , a municipal
  corporation, City of Fort Pierce City
  Manager Nicholas Mimms, individually,
  City of Fort Pierce Building Department
  Coordinator Shaun Coss, individually,
  City of Fort Pierce Code Compliance
  Officer, Margaret M. (Peggy) Arraiz,
  individually, City of Fort Pierce City
  Clerk and Assistant City Manager ,
  Linda Cox, individually, and other
  John Doe employees, Officials and
  and non-employee Municipal Actors of
  the City of Fort Pierce, individually,
  Charlene Adair, Joe Krisnak,
  Sylvia Krisnak, Janice Hodge,
  Chris Hodge aka Christopher P. Hodge,
  John Wolsiefer aka John Wolsiefer, Sr.,
  Nell Wolsiefer, Kelly Johnson aka
  Kelly M. Johnson, Jeremiah K. Johnson,

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  Bob Greene aka Robert Greene,
  Donna Greene, Maria A. Funka,
  D.W. Griffith, Sr., Sally S. Griffith,
  Ronald S. Jones, Ellen L. Jones,
  Gary L. Hickman, Loraine Thompson,
  Elizabeth Burns, Robert L. Ivey, Jr.,
  Rebecca P. Ivey,, Robin Norris aka
  Robin K. Norris, Lucinda L. Norris,
  Edward D. Conroy, Barbara D. Conroy,
  Gary Werner, Carol Yanaros aka
  Carol E. Yanaros, John Graziano aka
  John J. Graziano, Stefan Caro,
  Sanda Caro aka Sanda M. Caro,
  Vincent Spadavecchia, Francis Larson aka
  Francis H. Larson, Patty Sirois aka
  Patricia S. Sirois, Barry S. Mazza,
  Jeanie Mazza, Barry S. Mazza,
  Terri Leone aka Terri L. Leone ,
  John Ghiotti, Jr., aka John J. Ghiotti, Jr.,
  Jerry C. Walters, Kris Walters aka
  Kristina W. Walters, John Klimek aka
  Johnathon H. Klimek, Ross Crittenden aka
  Ross P. Crittenden, James Longstreet aka
  James A. Longstreet, Pat Morrison aka
  Patricia Morrison, Donna Spillman aka
  Donna N. Spillman, David A. Hicks,
  Lieser M. Hicks, Jon Harris aka
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  Jon W. Harris, Stacey S. Harris,
  Jill Williams aka Jill M. Williams
  and Michael Williams, other
  individual John Doe Defendants,
  individually,
                Defendants.
  ______________________________________________

  Complaint for Damages for Violation and Deprivation of U. S. Constitutional
  and Civil Rights, Privileges, and Immunities

        The Plaintiff, John B. Culverhouse, Sr.,(“Plaintiff” or by name) sues the

  Defendants, the City of Fort Pierce, a municipal corporation, located in St. Lucie

  County, Florida and organized under Section 2 of ARTICLE VIII of the Florida

  Constitution and the laws of the State of Florida (“Defendant” or “City of Fort

  Pierce”), City of Fort Pierce City Manager Nicholas Mimms, individually,

  (“Individual Defendant” or “City Manager Mimms”) City of Fort Pierce

  Building Department Coordinator Shaun Coss, individually, (“Individual

  Defendant” or “City Building Coordinator Coss”), City of Fort Pierce Code

  Compliance Manager , Margaret M. (Peggy) Arraiz, individually ,

  (“Individual Defendant” or “City Code Compliance Manager Arraiz”), City of

  Fort Pierce City Clerk and Assistant City Manager , Linda Cox, individually ,

  (“Individual Defendant” or “City Clerk and Assistant City Manager Cox ), and

  other John Doe employees, officials and non-employee State or Municipal Actors

  of the City of Fort Pierce, individually, and the following Individual Defendants


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  and State or Municipal Actors who are being sued individually: Charlene Adair,

  Joe Krisnak, Sylvia Krisnak, Janice Hodge, Chris Hodge aka Christopher P.

  Hodge, John Wolsiefer aka John Wolsiefer, Sr., Nell Wolsiefer, Kelly Johnson

  aka Kelly M. Johnson, Jeremiah K. Johnson, Bob Greene aka Robert Greene,

  Donna Greene, Maria A. Funka, D.W. Griffith, Sr., Sally S. Griffith, Ronald S.

  Jones, Ellen L. Jones, Gary L. Hickman, Loraine Thompson, Elizabeth Burns,

  Robert L. Ivey, Jr., Rebecca P. Ivey,, Robin Norris aka Robin K. Norris, Lucinda

  L. Norris, Edward D. Conroy, Barbara D. Conroy, Gary Werner, Carol Yanaros

  aka Carol E. Yanaros, John Graziano aka John J. Graziano, Stefan Caro, Sanda

  Caro aka Sanda M. Caro, Vincent Spadavecchia, Francis Larson aka Francis H.

  Larson, Patty Sirois aka Patricia S. Sirois, Barry S. Mazza, Jeanie Mazza, Barry S.

  Mazza, Terri Leone aka Terri L. Leone , John Ghiotti, Jr., aka John J. Ghiotti, Jr.,

  Jerry C. Walters, Kris Walters aka Kristina W. Walters, John Klimek aka

  Johnathon H. Klimek, Ross Crittenden aka Ross P. Crittenden, James Longstreet

  aka James A. Longstreet, Pat Morrison aka Patricia Morrison, Donna Spillman

  akaDonna N. Spillman, David A. Hicks, Lieser M. Hicks, Jon Harris aka Jon W.

  Harris, Stacey S. Harris, Jill Williams aka Jill M. Williams and Michael Williams

  ( all hereinafter collectively being referred to as the “Individual Defendants” or the

  “individual conspirators” or the “ municipal actors” or the “state actors” or by their




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  respective names); and other individual unknown John Doe Defendants,

  individually, and alleges the following:

                               I.   Introduction

        1.     This is a Civil Rights action brought by the Plaintiff,

  John B. Culverhouse, Sr., under the Civil Rights Act of 1871, 42 U.S.C. §§1983,

  1985 and 1988 to seek relief from, and redress of, the multiple deprivations and

  violations of John B. Culverhouse, Sr,’s federally protected United States

  Constitutional and Civil Rights, Privileges, and Immunities secured to John B.

  Culverhouse, Sr, as a Citizen of the United States, in and by, the “BILL OF

  RIGHTS” as embodied in the First, Fourth, Fifth and Fourteenth Amendments to

  the Constitution of the United States caused by the multiple and continuing acts

  under color of state law, statute, ordinance, policy, regulation, custom or usage

  (hereinafter collectively referred to as “under color of state law”) of and by the

  Defendants and for compensatory damages against the City of Fort Pierce and for

  both Compensatory and punitive damages against the Individual Defendants and

  the Petition Defendants and for both compensatory and punitive damages on the

  state law cause of action.

                     II.       The Parties to This Complaint

                               A.   The Plaintiff




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        2.        At all times relevant to this action, the Plaintiff, John B. Culverhouse,

  Sr., ( the “Plaintiff” or by name ) has been a adult Citizen of the United States

  residing in St. Lucie County, Florida.

        3.        At all times relevant to this action, the Plaintiff, John B. Culverhouse,

  Sr.,owned the home and real property located at 1635 Thumb Point Drive , Fort

  Pierce, Florida 34949 (“1635 Thumb Point Drive”) from September of 1976 to the

  present date.

        4.        From September of 1976 until her death on January 20, 2015, John B.

  Culverhouse, Sr., and his late Wife, Susan D. Culverhouse owned their homestead

  real property located at 1635 Thumb Point Drive as Tenants by the Entireties.

        5.        John B. Culverhouse, Sr., was admitted to the Florida Bar on

  December 19th, 1975 and practiced law in St. Lucie County, Florida, after returning

  to Fort Pierce in 1976 to accept a position as an Assistant State Attorney in the 19th

  Judicial Circuit from Tallahassee where he clerked for the late Honorable James C.

  Adkins, then Chief Justice of the Supreme Court of Florida.

        6.        John B. Culverhouse, Sr., is a member in good standing of the Florida

  Bar and was admitted to the Bar of this Court on February 22nd, 1980 and was

  admitted to practice before the Supreme Court of the United States upon the

  Motion of the late Honorable Claude Pepper on March 24th, 1986.

                               B.    The Defendants


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        7.     At all times relevant to this action, the Defendant, the City of Fort

  Pierce, has been a municipal corporation, located in St. Lucie County, Florida and

  organized and existing pursuant to Section 2 of Article VIII of the Florida

  Constitution and the laws of the State of Florida ( the “Defendant” or the “City of

  Fort Pierce”)

        8.     At all times relevant to this action, the Code Enforcement Division of

  the City of Fort Pierce was and is one of the Departments of the Government of the

  City of Fort Pierce (the “City of Fort Pierce Code Enforcement Division”).

        9.     At all times relevant to this action, the Building Department of the

  City of Fort Pierce was and is one of the Departments of the Government of the

  City of Fort Pierce (the “City of Fort Pierce Building Department”).

        10.    At all times relevant to this action, the individual Defendant, Nicholas

  Mimms, who is being sued in his individual capacity, was a employee and the City

  Manager of, the City of Fort Pierce and a resident of Fort Pierce, Florida.

        11.    At all times relevant to this action, the individual Defendant, Linda

  Cox, who is being sued in her individual capacity, was a employee serving

  simultaneously as both the City Clerk and Assistant City Manager of the City of

  Fort Pierce and a resident of Fort Pierce, Florida.

        12.       At all times relevant to this action, the individual Defendant, Shaun

  Coss, who is being sued in his individual capacity, was a employee and Building


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  Coordinator of, the City of Fort Pierce Building Department and a resident of the

  Southern District of Florida.

        13.    At all times relevant to this action, the individual Defendant,,

  Margaret M. (Peggy) Arraiz, who is being sued in her individual capacity, was a

  employee and the Code Compliance Manager of, the Code Enforcement Division

  of the City of Fort Pierce and a resident of the Southern District of Florida.

        14.    At all times relevant to this action, the now unknown Individual John

  Doe Defendants who are being sued in their individual capacities, were employees

  and officials of the City of Fort Pierce and residents of the Southern District of

  Florida.

        15. City of Fort Pierce City Manager Mimms, individually, City of Fort

  Pierce Building Department Coordinator Coss, individually, City of Fort Pierce

  Code Compliance Manager Arraiz, individually, City of Fort Pierce City Clerk

  and Assistant City Manager Cox, individually , and other John Doe employees and

  officials may hereinafter be referred to collectively as the “Individual City of Fort

  Pierce Defendants”.

        16.    At all times relevant to this action, the Individual Defendant ,

  Charlene Adair, who is being sued in her individual capacity, was and is the Code

  Enforcement Chair of the Fort Pierce South Beach Association and who stated in




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  that organization’s “2018 Annual Meeting Code Enforcement Report. . . “ that was

  posted on February 19th, 2018 on its website1 that

                   ****
                   “I am Charlene Adair, your Code Enforcement Chair. My role is to be
                   a liaison between South Beach residents and the Code Enforcement
                   Division of the City of Fort Pierce. I am also a volunteer with the City
                   of Fort Pierce.”\
                   ****
            17.    At all times relevant to this action, the Individual Defendant, Charlene

  Adair, who is being sued in her individual capacity, was a “municipal actor” or

  “state actor” and was a resident of Fort Pierce, Florida.



            18.    At all times relevant to this action, the Individual Defendant, Joe

  Krisnak, who is being sued in his individual capacity, was a “municipal actor” or

  “state actor” and was a resident of Fort Pierce, Florida.

            19.    At all times relevant to this action, the Individual Defendant, Joe

  Krisnak, who is being sued in his individual capacity, was a member of the Board

  of Directors of the Fort Pierce South Beach Association. [Composite Exhibit 1]

            20.    At all times relevant to this action, the Individual Defendant, Joe

  Krisnak, who is being sued in his individual capacity, was and is a licensed Florida

  Real Estate Broker, who has also tried unsuccessfully to get the listing to sell 1635

  Thumb Point Drive and 1629 Thumb Point Drive.

  1
      See http://fpsba.org/:

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        21.    Subsequent to John B. Culverhouse, Sr., declining to list 1635 Thumb

  Point Drive and 1629 Thumb Point Drive for sale with Joe Krisnak, Sylvia

  Krisnak, who is not a licensed Florida Real Estate Broker contacted John B.

  Culverhouse, Sr., to attempt to obtain information for one of “her” clients who she

  said wanted to buy one or more of the lots and became angry when John B.

  Culverhouse, Sr., told her that he did not care to do business with either her or her

  husband.

        22.    At all times relevant to this action, the Individual Defendants, Sylvia

  Krisnak and Joe Krisnak, who are being sued in their individual capacities, has,

  since John B. Culverhouse, Sr., declined to list 1635 Thumb Point Drive and 1629

  Thumb Point Drive with others, intentionally engaged in a pattern of activities and

  predicate acts as hereinafter specified to cause great financial harm to John B.

  Culverhouse, Sr.,

        23.    At all times relevant to this action, the Individual Defendant, Sylvia

  Krisnak, who is being sued in her individual capacity, was and is the Wife of Joe

  Krisnak, and a resident of Fort Pierce, Florida, and was a “municipal actor” or

  “state actor”.

        24.    The Individual Defendants, Janice Hodge and Chris Hodge aka

  Christopher P. Hodge unsuccessfully attempted to purchase 1629 and 1635 Thumb




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  Point Drive and have also actively discouraged prospective purchasers of 1629

  Thumb Point Drive and have disparaged the properties and prospective

  purchasers.

        25.     At all times relevant to this action, the Individual Defendants, Janice

  Hodge, Chris Hodge aka Christopher P. Hodge, John Wolsiefer aka John

  Wolsiefer, Sr., Nell Wolsiefer, Bob Greene aka Robert Greene, Donna Greene,

  Maria A. Funka, D.W. Griffith, Sr., Sally S. Griffith, Ronald S. Jones, Ellen L.

  Jones, Gary L. Hickman, Loraine Thompson, Elizabeth Burns, Robert L. Ivey, Jr.,

  Rebecca P. Ivey, Robin Norris aka Robin K. Norris, Lucinda L. Norris, Edward D.

  Conroy, Barbara D. Conroy, Gary Werner, Carol Yanaros aka Carol E. Yanaros,

  John Graziano aka John J. Graziano, Stefan Caro, Sanda Caro aka Sanda M. Caro,

  Vincent Spadavecchia, Francis Larson aka Francis H. Larson, Patty Sirois aka

  Patricia S. Sirois, Barry S. Mazza, Jeanie Mazza, Barry S. Mazza, Terri Leone

  aka Terri L. Leone , John Ghiotti, Jr., aka John J. Ghiotti, Jr., Jerry C. Walters,

  Kris Walters aka Kristina W. Walters, John Klimek aka Johnathon H. Klimek,

  Ross Crittenden aka Ross P. Crittenden, James Longstreet aka James A.

  Longstreet, Pat Morrison aka Patricia Morrison, Kelly Johnson aka Kelly M.

  Johnson, Jeremiah K. Johnson, Donna Spillman aka Donna N. Spillman, David A.

  Hicks, Lieser M. Hicks, Jon Harris aka Jon W. Harris, Stacey S. Harris, Jill

  Williams aka Jill M. Williams and Michael Williams, who are being sued in their


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  individual capacities were residents of the Southern District of Florida and were

  “municipal actors” or “state actors”. (“Individual Defendants” or “Petition

  Defendants” or by name or as “municipal actors” or “state actors”)

        26.   At all relevant times the “Petition Defendants” signed the “Petition for

  Culverhouse Property at 1635 Thumb Point Drive” in 2015 (the “2015 Petition”)

  protesting the time that it was taking for the rebuilding the Home or are co-owners

  of the properties whose co-owner or spouse signed the 2015 Petition and who

  have never withdrawn their support for the petition and have allowed and

  permitted Sylvia Krisnak, Joe Krisnak, Janice Hodge, Chris Hodge aka

  Christopher P. Hodge, John Wolsiefer aka John Wolsiefer, Sr., Nell Wolsiefer and

  others to represent them before and to the City of Fort Pierce Building Department

  officials in 2015 and again in 2016, 2017 and 2018 to the City of Fort Pierce City

  Manager Mimms, City Code Compliance Manager Arraiz, City Clerk and

  Assistant City Manager Cox and to Mayor Linda Hudson and to the City

  Commissioners and to other John Doe employees and officials of the City of Fort

  Pierce numerous times again and again over that time period up to the present date

  .     27.   At all times relevant to this action, there were Individual Defendants

  who were John Doe employees and Officials of the City of Fort Pierce, whose

  identities are unknown and who are being sued in their individual capacities and

  who, upon information and belief, resided in the Southern District of Florida (the


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  “Unknown Individual Defendants” or as “the unknown municipal actors” or as

  “the unknown state actors”)

         28.    At all times relevant to this action, there were Individual Defendants

  John Doe non-employees and non-Officials of the City of Fort Pierce, whose

  identities are unknown and who are being sued in their individual capacities and

  who, upon information and belief, resided in the Southern District of Florida, and

  were “municipal actors” or “state actors”. (the “Unknown Individual Defendants”

  or as “the unknown municipal actors” or as “the unknown state actors”) and

  because the true names and capacities, whether individual, corporate, association

  or otherwise of said Defendants, are unknown to Plaintiff, the Plaintiff will seek

  leave to amend this complaint to show the true names and capacity of these

  Defendants when they have been ascertained and new information comes to light.

  Each of the Unknown Defendants is responsible in some manner for the conduct or

  liabilities alleged herein.

                                   III. Venue

         29.    Venue is proper in the United States District Court for the Southern

  District of Florida pursuant to 28 U.S.C. § 1367 and 1391(b) and (c) because at

  least one of the Defendants resides in the Southern District and the claims for relief

  arose in the Southern District of Florida.

                                   IV. Jurisdiction

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        30.    The jurisdiction of this Court is invoked under 28 U.S.C. §1331

  because this U.S. District Court has original “Federal Question” jurisdiction of this

  civil action which arises under the Constitution and laws of the United States.

        31.    This Court’s original subject matter jurisdiction of this civil action is

  also invoked under 28 U.S.C. §1343 (a) (1), (2), (3) and (4) wherein John B.

  Culverhouse, Sr ., as a Citizen of the United States is seeking to recover damages

  for injury to his person and property and to secure equitable and other relief in

  order to seek redress for past deprivations and to put a stop to the continuing

  deprivations, and to prevent future deprivations by the Defendants acting under

  color of state law of the rights, privileges and immunities secured to John B.

  Culverhouse, Sr., by the “BILL OF RIGHTS” as guaranteed to all U.S. Citizens

  by the First, Fourth, Fifth and Fourteenth Amendments to the Constitution of the

  United States and by and under the Acts of Congress providing for the protection

  of civil rights as set forth in the Civil Rights Act of 1871, 42 U.S.C. §§1983,

  1985 and 1988.

        32.    John B. Culverhouse, Sr .’s claims as the Plaintiff for declaratory

  judgment relief against the City of Forty Pierce and against the individual

  defendants who are being sued in their individual capacities, are authorized by 28

  U.S.C. § 2201and for other, additional, further, supplemental and necessary or

  proper relief by 28 U.S.C. § 2202 and by Federal Rule of Civil Procedure 57.
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        33.    The Plaintiff’s claims for equitable and injunctive relief are authorized

  by 28 U.S.C. §1343 (a) (4) and by Federal Rule of Civil Procedure 65.

               VI. Standing to Bring This Action and to Seek Relief
                   under 42 U.S.C. §§1983, 1985 and 1988.

        34.    The Plaintiff, John B. Culverhouse, Sr has standing to bring this

  action and to seek relief under 42 U.S.C. §§1983, 1985 and 1988 for the

  Defendants’ multiple acts under color of state law


                            Standing for Injunctive Relief

        35.    The Plaintiff, John B. Culverhouse, Sr , has standing to seek

  injunctive relief against the Defendants because as hereinafter shown there are real

  and immediate threats that the Plaintiff will be wronged again through the

  continuing acts of retaliation and intimidation against John B. Culverhouse, Sr., for

  his having exercised his federally protected U.S. Constitutional First Amendment

  Rights of Freedom of Speech and to prevent the deprivation of his vested and

  other property rights in violation of his rights of U.S. Constitutional Substantive

  Due Process.

                            VII. Conditions Precedent

        36.    In this Complaint, the Plaintiff is only seeking relief against the

  Defendants City of Fort Pierce and the Unknown City Defendants under 42 U.S.C.

  §§1983, 1985 and 1988 and therefore the notice provisions relating to claims


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  arising under state law pursuant to section 768.28 (1).(2), (3) and (6)(a) and (b),

  Florida Statutes (2017) are not applicable and all conditions precedent have been

  complied with.

        37.     In this Complaint, the Plaintiff is only seeking to invoke the

  supplemental jurisdiction of this Court for relief pursuant to 28 U.S.C. §1367

  against the individual Defendants on state law causes of action in their individual

  capacities and therefore the notice provisions relating to claims arising under state

  law pursuant to section 768.28, Florida Statutes (2017) are not applicable and all

  conditions precedent have been complied with.

                         Allegations Common to All Counts

        38.    In September of 2017, the Plaintiff as the attorney for Richard B.

  Reed, II, who is a well known civic activist and government critic of the City of

  Fort Pierce, participated in a news conference with print journalists and reporters

  from T.V. stations in attendance and the statements made at the press conference

  both by Mr. Reed and his attorney appeared in printed newspapers and on the

  internet news TC Palm and were broadcast on two West Palm Beach based

  television stations.

        39.    It was announced at that press conference that Richard B. Reed, II,

  would be shortly filing a 42 U.S.C. Section 1983 Civil Rights action in the U.S.

  District Court for the Southern District of Florida against the City of Fort Pierce


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  and against Fort Pierce City Manager Nicholas Mimms and against Fort Pierce

  Police Chief Hobley Burney for the City’s and their retaliation against Mr. Reed

  for his having exercised his First Amendment Rights by publicly criticizing all of

  them for the disastrous handling of the killing of a young Afro-American man by

  two Fort Pierce Police Officers and also criticized the Police Chief for her

  unlawful firing of a Police Officer that Mr. Reed was able to cause the Police

  Chief’s decision reversed which led to 6the Police Chief telling her top deputy

  chiefs at a meeting to investigate Mr. Reed so that he could be arrested and also

  led to the Police Chief in the court yard of the City Hall threatening Mr. Reed in

  front of witnesses for which the Police Chief was suspended for five days.

        40.       After the press conference the City Manager used pretexts to bar Mr.

  Reed from City Hall and enforcement activity was begun against the home

  property of Mr. Reed’s attorney, John B. Culverhouse, Sr., by the City Manager

  Nicholas Mimms ordering the Code Enforcement Compliance Manager to

  condemn the structure as a nuisance even though the City had issued a building

  permit for the reconstruction of the homestead property on August 22nd, 2014 and

  John B. Culverhouse, Sr. had obtained approved inspections every six months

  thereafter by the Building Department.

        41. On November 20th, 2018, City Building Coordinator, Shaun Coss cited

  the property.


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        42. On January 16th, 2018, when the Code Enforcement Division placed a

  red placard condemning the home property at 1635 Thumb Point Drive, the

  Building permit was active and repairs were being made to the structure which

  had sustained $19,000.00 of damages in early September of 2017 when Hurricane

  Irma’s high winds caused the south wall of the building to collapse thereby causing

  work to be suspended until the Plaintiff’s insurance company adjusted the loss and

  released the site so that repairs could be made and building could resume.

        43. Despite the repeated requests by the Plaintiff the insurance company did

  not adjust the loss and release the building site until December of 2017.

        44. At the end of January, 2017, the repaired structure passed inspection

  by the Building Department, but the Code Enforcement Division at the behest of

  the City Manager and others continued the enforcement action based on the

  complaints by area residents that have all been corrected except for the complaint

  that it is taking too long to rebuild the house and that it is not pretty to look at

  while it is under construction.

        45. In taking these enforcement actions, City Manager Mimms and Code

  Enforcement Compliance Manager Arraiz have conspired and worked in concert

  with City Clerk and Assistant City Manager Linda Cox and City of Fort Pierce

  Building Coordinator Coss and other City employees and officers and with




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  Charlene Adair, Joe Krisnak, Sylvia Krisnak, Janice Hodge, Chris Hodge aka

  Christopher P. Hodge, John Wolsiefer aka John Wolsiefer, Sr., Nell Wolsiefer and

  other Municipal Actors.

        46.    That Joe Krisnak, Sylvia Krisnak, Janice Hodge, Chris Hodge aka

  Christopher P. Hodge, John Wolsiefer aka John Wolsiefer, Sr., Nell Wolsiefer and

  other Municipal Actors have acted as the representatives of all of the Petition

  Defendants who signed the “Petition for Culverhouse Property at 1635 Thumb

  Point Drive” in 2015 protesting the time that it was taking for the rebuilding and

  this petition was then sent to the City of Fort Pierce’s then Building

  Official.

        47.    Joe Krcnak is a member if the Board of Directors of the Fort Pierce

  South Beach Association which has hundreds of members who are registered

  voters and has been active in working to get my property condemned. [Exhibit 1]

        48.    The following members of the Fort Pierce South Beach Association

  (Christopher Hodge, Janice Hodge, Sylvia Krchnak, Charlene Adair, John

  Wolsiefer, Charlie Hayek, Sally Griffith and John Northen) attended and either

  requested to be able to testify as a witness for the City of Fort Pierce against my

  property and me at the April 18th, 2018 Hearing before the Special Master and did

  testify or requested to testify as a witness for the City of Fort Pierce, but left before

  they were called to testify.


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        49.    Fort Pierce South Beach Association Board of Director Member Joe

  Krchnak [also attended the April 18th, 2018 hearing at which his Wife Sylvia

  Testified on behalf of the City of Fort Pierce.

        50.    And, on June 12th, 2018, after the Plaintiff went to the Code

  Enforcement Office and requested to view the file in this matter to see what new

  matters had been placed in the file since the April 18th, 2018 hearing, the Plaintiff

  discovered the attached November 16th, 2017 emails from Charlene Adair (the

  Code Enforcement Chair for the Fort Pierce South Beach Association) to Shaun

  Coss, who is a Building Coordinator with the Building Department of the City of

  Fort Pierce and which show that Charlene Adair and the Fort Pierce South Beach

  Association and Shaun Coss were colluding and conspiring to condemn the

  property as soon as the attached Resolution 17-R38 was passed by the City of Fort

  Pierce City Commission at its Regular Meeting on Monday, November 20th, 2017:

        ****
        “13. CITY COMMISSION
        ****
        “b. Resolution 17-R38 adopting the Rules of Procedure for Condemnation
        and Demolition.” [Composite Exhibit 2]
        ****


        51.    The tell tale “smoking gun” statement by Charlene Adair in her

  email to Shaun Coss on Thursday, November 17th, 2017 at 6:30 PM was as

  follows:


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           ****
           “Thanks, Shaun. I’ll try to get more pics from the back tomorrow while
           kayaking. I know u need to wait until this revision passes on Monday . . .
           Charlene”
           **** [Exhibit 2]

           52. This is a reference to Resolution 17-R38 that was on the agenda for the

  Monday, November 20th, 2017 Regular Meeting of the City Commission of the

  City of Fort Pierce and was passed at that meeting.

           53.   The kayaking reference is to Charlene Adair kayaking on the

  Indian River where she could view and photograph the then unrepaired damage

  caused by Hurricane Irma to the structure under construction at 1635 Thumb Point

  Drive.

           54. This condemnation procedure allows a structure to be demolished if

  the structure cannot be condemned under the International Property Maintenance

  Code that the City of Fort Pierce had previously adopted and “Resolution 17-R38

  adopting the Rules of Procedure for Condemnation and Demolition” allows

  condemnation and demolition for subjective reasons and for neighbor’s

  complaints and gave the City and the City officials and employees unbridled

  discretion and gave the City officials and employees and the municipal actors the

  means to have the structure at 1635 Thumb Point Drive demolished even though

  there is an active building permit.

           55.   That the condemnation tagging and the initiation of demolition

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  process grants unbridled discretion and allows arbitrary and capricious actions

  against the Plaintiff’s home structure is evidenced clearly by the fact that the Staff

  Summary for the June 18th, 2018 Agenda item before the City Commission states

  that City Manager Mimms ordered the Code Enforcement Division to red tag the

  structure at 1635 Thumb Point Drive as being “Condemned”.

        56.       The structure under construction without the land is valued

  conservatively to be worth $175,000.00 to $200,000.00 and the waterfront lot the

  structure is situate on is valued at $600,000.00.

        57. Because the structure was condemned on January 16th, 2018, the private

  lender that the Plaintiff had secured to fund the last $300,000.00 to finish the

  reconstruction of the home declined to fund the loan after the structure passed

  inspection in late January because of the City’s action in condemning the structure

  that represented $175,000.00 to $200,000.00 of the lender’s anticipated collateral

  for the loan.

        58. This “red tagging” Condemnation of the structure at 1635 Thumb Point

  Drive as being “Condemned” was a final action in that it sounded the death knell

  for the Plaintiff to be able to receive the funding of the new loan and to complete

  the necessary work and have the work inspected and approved on or before July

  24th, 2018 when the permit will expire unless it passes the required inspection in




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  which event the permit would then be valid for an additional one hundred and

  eighty days.

        59. The Plaintiff has been informed by City officials that no extensions

  of the July 24th, 2018 inspection deadline of the permit or of the permit will be

  granted because of intense pressure being exerted by the Mayor and City Manager

  and other city officials working in concert with the municipal actor defendants.

        60. This action by the Code Enforcement Division at the order of the

  City Manager has resulted in the de facto lo0ss of the permit and of the value of the

  structure and improvements on the property because the Permit issued to the

  Plaintiff on August 22 , 2014 was issued under the 2010 Building Code and once

  the permit is lost, the structure as it is being built under the 2014 permit will not

  meet the requirements of the Building Code now in effect thereby causing

  substantial damages by the loss or required alteration of the structure by the present

  Building Code.

        61. That the City of Fort Pierce through the City Manager and the

  Code Enforcement Manager and other officials and employees and municipal

  actors knew that the Plaintiff was obtaining financing to complete the construction

  and the extremely adverse effect that the “red tagging” Condemnation of the

  structure at 1635 Thumb Point Drive as being “Condemned” would have but

  proceeded to do so anyway due to the political pressure from the Mayor and City


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  Manager Mimms and City Clerk and Assistant City Manager Linda Cox and by

  the municipal actors working in concert with them and others.

        62. The leaders of the municipal actors for their own selfish financial

  benefit want the permit to expire.

        63. The knowledge of the leaders of the municipal actors and of

  the Petition Defendants is imputed to the remaining Petition Defendants who are

  thereby also municipal actors because they continue to allow the leaders to

  represent them and to act and speak on their behalf.

        64. It is also suspect on the part of the Code Enforcement Division

  Manager that this November 17th, 2017 email was not present in the Code

  Enforcement file when I reviewed it on Monday, April 17th, 2018 prior to the April

  18th, 2018 hearing but somehow supposedly found its way into the file sometime

  after the April 18th, 2018 hearing and was not among the copies made for me of the

  “supposed” complete “Official” Code Enforcement Division file prior to the April

  18th, 2018 hearing.

        65. And, it is even more telling that at the top left of the pages of the email

  it is shown that the November 20th, 2017 email was printed out on “4/17/2018” and

  it is even more telling when a different formatted first page of the November 20th,

  2017 email that omitted the date it was printed out and also omitted the second

  page of Charlene Adair’s email to Shaun Coss on Thursday, November 17th, 2017


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  at 6:30 PM wherein Charlene Adair had said “. . . I know u need to wait until this

  revision passes on Monday . . .” was introduced into evidence at the April 18th,

  2018 hearing.

        66.    At the June 13th, 2018 hearing before the Special Master which

  did not go well for the City from the standpoint that Mr. Paul Thomas, the Building

  Official testified that some months before that he was advised by the City Attorney

  during a meeting of all of the Department heads of the City of Fort Pierce that the

  February 19th, 2016 letter agreement and timeline between John B. Culverhouse,

  Sr., and Marc Meyers as the then “Building Official” of the Building Department

  of the City of Fort Pierce was invalid and unenforceable because the Mayor had

  not signed the agreement and that the April 21st, 2016 letter from Marc Meyers to

  John B. Culverhouse, Sr., was likewise invalid and unenforceable. These items

  were listed as the City’s Exhibits 5 and 6 that the Plaintiff Objected to at the April

  18th, 2018 hearing since they had not been previously disclosed as evidence or as a

  basis for the Code Enforcement action.

        67.    The February 19th, 2016 letter agreement and timeline and a

  April, 2017 letter based on that timeline, that the Code Enforcement Compliance

  Manager was then relying on as the foundation of the City’s case was invalid and

  unenforceable because the Mayor had never signed the agreement.




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        68. Immediately after the recess of the June 13th, 2018 hearing for the day,

  two members of the Fort Pierce South Beach Association (Christopher Hodge and

  Sylvia Krchnak) who attended the hearing met privately with Code Enforcement

  Division Manager Peggy Arraiz in her office.

        69. In the afternoon of June 15th, 2018, the Plaintiff drove to 1635 Thumb

  Point Drive to check on some work that he was having done on the property and as

  he pulled onto the property he saw a large number of cars parked across the street

  at the home of the Hodges and he observed about 20 people come out of the

  Hodges home and get into their cars and drive away.

        70. One of the persons was Joe Krchnak who was driving towards the

  Plaintiff east on Thumb Point Drive.

        71. It appeared that this was a meeting of either or both of the leaders of

  the Petition Defendants or of part of the Fort Pierce South Beach Association.

        72.   As Mr. and Mrs. Hodge was walking back into their home, the

  Plaintiff called to Mr. Hodge and asked to speak with him and the three of them

  met on Thumb Point Drive and the Plaintiff asked Mr. Hodge if there were any

  other things that were aggravating Mr. Hodge that the Plaintiff could have

  corrected on the lot and structure at 1635 Thumb Point Drive while the

  construction on the home was being finished and Mr. Hodge in a angry voice said




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  “No ! the whole thing aggravates me!” and then turned around and stalked off

  back towards his home.

         73. The Fort Pierce South Beach Association and its officers and directors,

  individually, other than Joe Krchnak have not been named as defendants in this

  action but the Plaintiff reserves the right to add them as defendants if the Fort

  Pierce South Beach Association and its other officers and directors are found

  during discovery to also be municipal or state actors.

         74. That the City of Fort Pierce has a long standing culture of public

  corruption, favoritism and the misuse and abuse of their offices for their own

  personal gain, as alleged in this complaint.

         75. At all times relevant to this action, the individual Defendant City

  Manager Mimms as the City Manager, violated “ARTICLE IV. - CITY

  MANAGER” “SECTION 42” of the CHARTER of the CITY OF FORT PIERCE

  by causing the appointment of City Clerk Linda Cox to simultaneously serve as the

  Assistant City Manager since SECTION 42 expressly prohibits the City Manager

  from exercising “. . .general supervision and control over . . . the office of city

  clerk.”2


  2
   https://library.municode.com/fl/fort_pierce/codes/code_of_ordinances?nodeId=CH_ARTIVCIMA. SECTION 42
  of “ARTICLE IV. - CITY MANAGER” provides in relevant part the following:
  ****
  “Sec. 42. - Powers and duties of city manager.
  The city manager shall be the chief executive and administrative head of the municipal
  government and shall be responsible to the commission for the proper administration of all
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         76. At all times relevant to this action, the individual Defendant, Linda Cox,

  who is being sued in her individual capacity, as a employee of the City of Fort

  Pierce acting as, and holding, both of the offices of City Clerk and Assistant City

  Manager simultaneously was acting unlawfully in violation of “ARTICLE IV. -

  CITY MANAGER” “SECTION 42” of the CHARTER of the CITY OF FORT

  PIERCE.

         77. Upon Information and belief, at times relevant to this action, the

  individual Defendant, Linda Cox, who is being sued in her individual capacity, as a

  employee of the City of Fort Pierce acting as, and holding, both of the offices of

  City Clerk and Assistant City Manager acted improperly in allowing the Mayor

  who receives a monthly car allowance for reimbursement of expenses for using her

  private motor vehicle to use a motor vehicle assigned to the office of the City Clerk

  that was owned. leased or rented by the City of Fort Pierce during which time the

  Mayor was still being paid her monthly car allowance.

         78. When a public records request was made regarding the foregoing,

  City Clerk and Assistant City Manager Cox answered that she had no such public

  records and when confronted by email a to why no such public records were kept



  affairs of the city. He shall exercise general supervision and control over all city
  departments, except the office of city clerk, city attorney and city auditor. His powers and
  duties shall be:”
  ****

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  of her having allowed the Mayor to use such a city vehicle, there has yet to be a

  reply.

           79. Upon Information and belief, at times relevant to this action , another

  Commissioner whose place of employment provides a vehicle for his use, in

  addition to accepting the payment of the monthly car allowance by the City for the

  reimbursement of expenses for using his privately owned personal motor vehicle,

  billed the City for mileage to a out of town conference while he was driving the

  vehicle furnished by his other employer.

           80.   That John B. Culverhouse, Sr.'s First, Fifth and Fourteenth

  Amendment rights are being intentionally trampled, abused and deprived with

  indifference by the City of Fort Pierce and by the Mayor and her close friend City

  Clerk and Assistant City Manager Cox and by Code Compliance Manager Arraiz

  and City Building Official Coss and by City Manager Mimms and by the State

  actors and others in retaliation against the Plaintiff for having exercised his rights

  under the First Amendment, inter alia:

           A.    by speaking out against the Mayor and City Manager and the Police

  Chief and others as the attorney representing Richard B. Reed, II, whom the Mayor

  hates at the Press conference in September of 2017;

           B. for the Plaintiff having exercised his rights under the First Amendment

  by successfully representing Churches pro bono in reversing City decisions that


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  effectively intentionally kept a Black Church from opening in Downtown Fort

  Pierce;

        C. by also having exercised his rights under the First Amendment by

  successfully representing the St. Lucie County Concerned Citizens pro bono in

  causing the City to stop appointing members of City Boards by non-public ballots

  in violation of Florida’s Sunshine Law;

        D. for having exercised his rights under the First Amendment by making

  public records requests;

        E. by representing the Director of the Fort Pierce Utilities Authority that

  the Mayor orchestrated the firing of and in writing financial demand letters on

  behalf of his Client to the Mayor as a member of the Fort Pierce Utilities Authority

  through the Authority’s attorney;

        81.    At all times relevant to this action, all of the non City Employee and

  non city official Individual Defendants and Petition Defendants have been acting

  jointly and colluding and conspiring with each other and with City employees and

  officials Defendants as state actors under color of state law with the purpose of

  violating the federal rights of the plaintiff.

        82. At all times relevant to this action, the conduct of City Manager

  Mimms, Mayor Linda Hudson, City Building Official Coss, City Code

  Enforcement Manager Arraiz and City Clerk and Assistant City Manager Cox and


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  of the state actors caused the deprivation and violation of the federally protected

  rights specified in this complaint.

           83. At all times relevant to this action, all of the Individual Defendants and

  Petition Defendants have been acting under color of state law.

           84.      At all times relevant to this action, the individual Defendants’ conduct

  under color of state law as specified in this complaint caused the deprivation of

  the federally protected rights, privileges, and immunities secured to John B.

  Culverhouse, Sr., in and by, the “BILL OF RIGHTS” as embodied in the First,

  Fourth, Fifth and Fourteenth Amendments to the Constitution and the laws of the

  United States of America.

           85.      At all times relevant to this action, the Defendant, the City of Fort

  Pierce’s enforcement of the City of Fort Pierce’s ordinances, codes, regulations,

  rules, policies, customs, usages3 or practices as alleged in this complaint were

  violations of the federally protected rights of John B. Culverhouse, Sr.

           86.      Title 42 U.S.C. § 1983 provides in relevant part:

                    "Every person who, under color of any statute, of any State . . .
                    subjects, or causes to be subjected, any citizen of the United States or
                    other person within the jurisdiction thereof to the deprivation of any
                    rights, privileges, or immunities secured by the Constitution and laws,


  3
   42 U.S.C. § 1983 provides in relevant part:
  "Every person who, under color of any statute, of any State . . . subjects, or causes to be subjected, any citizen of the
  United States or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or
  immunities secured by the Constitution and laws, shall be liable to the party injured in an action at law, suit in
  equity, or other proper proceeding for redress."

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                shall be liable to the party injured in an action at law, suit in equity, or
                other proper proceeding for redress."


        87. The Petition Defendants through their leaders who had various self

  interests and ulterior motives brought pressure to bear upon City Manager Mimms

  and the Mayor and others.

        88. To appease the Petition Defendants City Manager Mimms has caused

  thousands of dollars of public monies to be spent on attorneys and others

  determining how to take away the Plaintiff’s vested rights and property interests in

  the permit.

        89. That the City Manager Mimms, Mayor Linda Hudson, City Building

  Official Coss, City Code Enforcement Manager Arraiz and City Clerk and

  Assistant City Manager Cox and other city employees and officials and the Petition

  Defendants as state actors have caused the deprivations and violations of the

  federally protected rights of the Plaintiff .

        90. That City Manager Mimms, Mayor Hudson, City Building Official

  Coss, City Code Enforcement Manager Arraiz and City Clerk and Assistant City

  Manager Cox and other city employees and officials and the Petition Defendants

  as state actors have caused the deprivations and violations of the federally

  protected rights of the Plaintiff by conspiring or acting in concert to tortuously

  interfere with or deprive John B. Culverhouse, Sr., of vested rights and property


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  interests that John B. Culverhouse, Sr. had been granted on August 22, 2014 and

  thereafter with each approved inspection under the permit.

        91. John B. Culverhouse, Sr., was consequently denied his constitutional

  rights to equal protection of the law and to both procedural and substantive due

  process of law as guaranteed by the 14th and other applicable Amendments to the

  Constitution of the United States.

        92. The conduct and actions of the City Of Fort Pierce and of City

  Manager Mimms, Mayor Hudson, City Building Official Coss, City Code

  Enforcement Manager Arraiz and City Clerk and Assistant City Manager Cox and

  other city employees and officials and the Petition Defendants as state actors was

  and is corrupt.

        93. That the City Of Fort Pierce and City Manager Mimms, Mayor Hudson,

  City Building Official Coss, City Code Enforcement Manager Arraiz and City

  Clerk and Assistant City Manager Cox and other city employees and officials and

  the Petition Defendants as state actors acted with the intent to harm, or with

  deliberate indifference to, and to deprive the Plaintiff of his bested property rights

  and interests.

        94. The City Of Fort Pierce and City Manager Mimms, Mayor Hudson,

  City Building Official Coss, City Code Enforcement Manager Arraiz and City

  Clerk and Assistant City Manager Cox and other city employees and officials and


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  the Petition Defendants as state actors engaged in joint and concerted conduct that

  "shocks the judicial conscience" contrary to the guarantee of substantive due

  process.

        95. That the City of Fort Pierce as a municipality is not immune from suit

  under the Eleventh Amendment pursuant to 42 U.S.C. Section 1983.

        96.    Upon a favorable determination that the actions of the City Of Fort

  Pierce and of City Manager Mimms, Mayor Hudson, City Building Official Coss,

  City Code Enforcement Manager Arraiz and City Clerk and Assistant City

  Manager Cox and other city employees and officials and the Petition Defendants

  as state actors or the actions of the foregoing with other co-conspirators violated

  and deprived the Plaintiff's rights under the First Amendment and his rights to

  substantive due process under the 14th and 5th Amendments to the Constitution of

  the United States, the Plaintiff will be entitled to an award of attorneys fees

  pursuant to 42 U.S.C. section 1988.

                        COMPLAINT FOR DAMAGES
                         FIRST CLAIM FOR RELIEF
                      Substantive Due Process (42 U.S.C. § 1983)
                        (Against Individual City of Fort Pierce Defendants
                        and the Petition Defendants as State Actors and Unknown
                        Defendants)

        97. The Plaintiff repeats and re-alleges each and every allegation in

  paragraphs 1 through 96 of this Complaint with the same force and effect as if fully

  set forth herein.
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        98. The Plaintiff had a cognizable interest under the Due Process

  Clause of the Fourteenth Amendment of the United States Constitution to be free

  from state actions that deprive him of life, liberty, or property in such a manner as

  to shock the conscience.

        99. The aforementioned actions of the Individual City of Fort Pierce

  Defendants and of the Petition Defendants as State Actors and Unknown

  Defendants), along with other undiscovered conduct, shock the conscience, in that

  they acted with deliberate indifference to the constitutional rights of the Plaintiff,

  and with purpose to harm unrelated to any legitimate objective.

        100. As a direct and proximate result of these actions by the Individual City

  of Fort Pierce Defendants and the Petition Defendants as State Actors and

  Unknown Defendants the Plaintiff suffered damages,

        101. The conduct of the Individual City of Fort Pierce Defendants and the

  Petition Defendants as State Actors and Unknown Defendants was willful,

  wanton, malicious, and done with reckless disregard for the rights of the Plaintiff

  and therefore warrants the imposition of exemplary and punitive damages as to the

  Individual City of Fort Pierce Defendants and the Petition Defendants as State

  Actors and Unknown Defendants.

                    COMPLAINT FOR DAMAGES
                    SECOND CLAIM FOR RELIEF
               Municipal Liability – Ratification (42 U.S.C. § 1983)
               (Against Defendants City of Fort Pierce and Unknown
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               Defendants )

        102. Plaintiff repeats and re-alleges each and every allegation in paragraphs

  1 through 101 of this Complaint with the same force and effect as if fully set forth

  herein.

        103. The Defendant, City of Fort Pierce and Unknown Defendants acted

  under color of law;

        104. The acts of the Defendant, City of Fort Pierce Defendants and the

  Unknown Defendants deprived the Plaintiff of his particular rights under the

  United States Constitution.

        105. Upon information and belief, a final policymaker, City Manager

  Mimms and Mayor Hudson and the three vote majority (Mayor Hudson and

  Commissioners Johnson and Perona) on the Commission, acting under color of

  law, who had final policymaking authority concerning the acts of the Individual

  City of Fort Pierce Defendants and the Petition Defendants as State Actors and

  Unknown Defendants, ratified the acts of all of said defendants acts and the bases

  for them.

        106. Upon information and belief, the final policymaker knew of and

  specifically approved of the acts of the Individual City of Fort Pierce Defendants

  and the Petition Defendants as State Actors and Unknown Defendants.




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        107. Upon information and belief, a final policymaker has determined (or

  will determine) that the acts of the Individual City of Fort Pierce Defendants and

  the Petition Defendants as State Actors and Unknown Defendants were “within

  policy” custom, practice or usage.

        108. By reason of the aforementioned acts and omissions, Plaintiff

  has suffered damages,

        109. Accordingly, the Defendant, City of Fort Pierce is liable to the

  Plaintiff for compensatory damages under 42 U.S.C. § 1983.

                    COMPLAINT FOR DAMAGES
                   THIRD CLAIM FOR RELIEF
               Municipal Liability – Failure to Train (42 U.S.C. § 1983)
               (Against Defendant, City of Fort Pierce)

        110. The Plaintiff repeats and re-alleges each and every allegation in

  paragraphs 1 through 109 of this Complaint with the same force and effect as if

  fully set forth herein.

        111. The Individual City of Fort Pierce Defendants and the Petition

  Defendants as State Actors and Unknown Defendants acted under color of law.

        112. The acts of the Individual City of Fort Pierce Defendants and the

  Petition Defendants as State Actors and Unknown Defendants deprived the

  Plaintiff of his rights under the United States Constitution.




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        113. The training policies of the Defendant, City of Fort Pierce were not

  adequate to train the Individual City of Fort Pierce Defendants and the Unknown

  Defendants to handle the usual and recurring situations with which they must deal.

        114. The Defendant, City of Fort Pierce was deliberately indifferent to the

  obvious consequences of its failure to train the Individual City of Fort Pierce

  Defendants and the Unknown Defendants and its other employees and officials

  adequately.

        115. The failure of the Defendant, City of Fort Pierce to provide adequate

  training caused the deprivation of Plaintiff’s rights by the Individual City of Fort

  Pierce Defendants and the Petition Defendants as State Actors and Unknown

  Defendants, that is the Defendant, City of Fort Pierce’s failure to train is so closely

  related to the deprivation of the Plaintiff’s rights as to be the moving force that

  caused the injury.

        116. On information and belief, the Defendant, City of Fort Pierce failed to

  train the Individual City of Fort Pierce Defendants and the Unknown Defendants

  properly and adequately.

        117. By reason of the aforementioned acts and omissions, the Plaintiff has

  suffered damages.




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        118 . Accordingly, the Defendant, City of Fort Pierce and the Unknown

  City Defendants each are liable to the Plaintiff for compensatory damages under 42

  U.S.C. § 1983.

                      COMPLAINT FOR DAMAGES
                      seeks attorney’s fees under this claim.
                      FOURTH CLAIM FOR RELIEF
                      Municipal Liability – Unconstitutional
                      Custom or Policy (42 U.S.C. § 1983)
                      (Against the Defendant, City of Fort Pierce
                      and the Unknown City Defendants )

        119. Plaintiff repeats and re-alleges each and every allegation in paragraphs

  1 through 118 of this Complaint with the same force and effect as if fully set forth

  herein.

        120. The Individual City of Fort Pierce Defendants and the Petition

  Defendants as State Actors and Unknown Defendants acted pursuant to an

  expressly adopted official policy or a longstanding practice or custom of the

  Defendant, City of Fort Pierce.

        121. On information and belief, the Individual City of Fort Pierce

  Defendants and the Petition Defendants as State Actors and Unknown Defendants

  were not disciplined, reprimanded, retrained, suspended, or otherwise penalized in

  connection with the injuries caused to the rights of the Plaintiff.

        122. The Defendants, City of Fort Pierce and the Unknown City Defendants,




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  together with other City of Fort Pierce policymakers and supervisors, maintained

  unconstitutional customs, practices, and policies:

         (a) Inadequately supervising, training, controlling, assigning,

  nd disciplining City of Fort Pierce employees and officials and other personnel,

  including the Individual City of Fort Pierce Defendants and the Unknown

  Defendants, whom Defendant City of Fort Pierce knew or in the exercise of

  reasonable care should have known had the aforementioned propensities and

  character traits;

         (b) Maintaining grossly inadequate procedures for reporting,

  supervising, investigating, reviewing, disciplining and controlling misconduct by

  employees and officials,

                      COMPLAINT FOR DAMAGES
                      seeks attorney’s fees under this claim.
                      FIFTH CLAIM FOR RELIEF
                      First Amendment retaliation claim
                            (42 U.S.C. § 1983)
                      (Against the Defendants, City of Fort Pierce
                      and the Individual City of Fort Pierce Defendants
                      and the Petition Defendants as State Actors and Unknown
                      City Defendants and the Unknown Defendants )

         123. Plaintiff repeats and re-alleges each and every allegation in paragraphs

  1 through 122 of this Complaint with the same force and effect as if fully set forth

  herein.

         124. The Plaintiff’s speech or act was constitutionally protected;


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        125. The retaliatory conduct of the Defendant, the City of Fort Pierce

  and the Individual City of Fort Pierce Defendants and the Petition Defendants as

  State Actors and Unknown City Defendants and the Unknown Defendants

  adversely affected the protected speech and act;

        126. There is a causal connection between the retaliatory actions and the
  adverse effect on speech.

                             PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff requests entry of judgment in his favor and

  against the Defendants, as follows

     A. for compensatory damages in whatever amount may be proven at

  trial against the City of Fort Pierce and the Unknown City Defendants;

      B. For punitive damages against the Individual City of Fort Pierce Defendants

  and the Petition Defendants as State Actors and Unknown Defendants;

      C. For statutory damages;

      D. For prejudgment interest;

      E. For reasonable attorneys’ fees, including litigation expenses;

      F. For costs of suit; and

      G. For such further other and further and supplemental relief as the Court may

  deem just, necessary proper, and equitable and appropriate.



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        Executed on June 18th, 2018.

                     Brad Culverhouse
                     Attorney At Law, Chartered:
                     505 Beach Court, Suite 1
                     Fort Pierce, Florida 34950
                     Office Telephone 772. 465.7572
                     Cellular Telephone 561.716.4726
                     E-Mail: BradCulverhouseLaw@gmail.com
                     Attorney for John B. Culverhouse, Sr.

                     By__/s/ Brad_Culverhouse


                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been served via

  email to James Messer, Esquire, the City Attorney for the City of Fort Pierce on

  June 18th, 2018,


                     Brad Culverhouse
                     Attorney At Law, Chartered:
                     505 Beach Court, Suite 1
                     Fort Pierce, Florida 34950
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